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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           CASE NO.: 19-20497-CR-GAYLES

  UNITED STATES OF AMERICA,
      Plaintiff,

  vs.

  SHAROD WILLIAM HOLLIE,
      Defendant.
                                          /


               MR. HOLLIE’S RESPONSE TO THE GOVERNMENT’S
                     MOTIONS IN LIMINE (DE 65 AND 66)

          Sharod Hollie, through undersigned counsel, respectfully files this response to

  the government’s motions in limine. Following a calendar call and a status

  conference, at which the Court addressed Mr. Hollie’s motions in limine, the

  government filed a motion in limine to preclude the defense from introducing

  evidence of his mental health condition at trial, (DE 65), and a motion in limine to

  admit witness testimony and letters written by Mr. Hollie. (DE 66). The government

  cannot have it both ways—it cannot both admit extrinsic evidence of Mr. Hollie’s state

  of mind and preclude Mr. Hollie from refuting that evidence. In response to the

  government’s motions, Mr. Hollie states:

        1. The Government Has Received Overwhelming Evidence of Mr.
           Hollie’s Mental Health Condition

          Contrary to the government’s claim that the defense has “provided no

  reciprocal discovery in this case, let alone any reports (expert or otherwise) that would

  support the introduction of evidence regarding the defendant’s mental health




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  condition,” overwhelming evidence has been provided to the government regarding

  Mr. Hollie’s mental condition before, during, and after his 2014 plea; and on the dates

  of the incidents alleged in the indictment. Specifically, On November 12, 2021,

  undersigned provided to the government the following evidence documenting Mr.

  Hollie’s mental health:

     -   A petition made by the Department of Children and Families in 2013
         (while Mr. Hollie was committed to its custody) for an order
         authorizing forced treatment of Mr. Hollie based on the opinions of
         two mental health professionals from the South Florida Evaluation
         and Treatment Center.
     -   Mr. Hollie’s records from the South Florida Evaluation and
         Treatment Center, where Mr. Hollie was committed for most of 2010
         to 2014.
     -   An order confirming involuntary treatment following an attached
         report and recommendation by a magistrate, after an evidentiary
         hearing in 2013, recommending that the court order Mr. Hollie
         medicated without his consent due to his diagnosed schizophrenia.
     -   An order signed by Judge Teresa Pooler that Mr. Hollie be held in a
         treatment facility pursuant to Brantly v. Rubio, 870 So.2d 849 (3d
         DCA 2003), pending the resolution of his case.
     -   An order to transport Mr. Hollie from the South Florida Evaluation
         and Treatment Center directly to his court hearing on the date of his
         change of plea.
     -   Orders of supervision that required Mr. Hollie be housed at a
         residential mental health program for a year following his 2014
         change of plea.
     -   A 2016 order signed by Judge Teresa Pooler, again committing Mr.
         Hollie to the Department of Children and Families to be housed in a
         security residential facility for the mentally ill, along with an order
         signed by Judge Teresa Pooler finding Mr. Hollie incompetent in
         2016.

         In addition, the government is in possession of evaluations, conducted by the

  Bureau of Prisons, which also document Mr. Hollie’s mental health following the

  offenses alleged in this case:


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     -   A report from May 28, 2020, opining that Mr. Hollie suffers from a
         severe mental health disorder and is not competent to proceed.
     -   A report from March 3, 2021, opining that Mr. Hollie is suffering from
         schizophrenia and is not competent to proceed.

         Therefore, as an initial matter, the government is very much on notice of Mr.

  Hollie’s mental health condition.

         To confirm undersigned’s previous representation in Court, Mr. Hollie does not

  intend to assert an insanity defense and Mr. Hollie does not intend to introduce

  expert reports. Therefore, the defense has not and will not provide notice under

  Federal Rules of Criminal Procedure 12.2. Moreover, also as represented in Court,

  the defense agrees as a general matter that diminished capacity is not a defense to a

  general intent crime under current Eleventh Circuit law.

         However, as detailed below, in light of the government’s intent to introduce the

  habit testimony of Judge Teresa Pooler, its intent to introduce a letter written by Mr.

  Hollie from the South Florida Evaluation and Treatment Center to show his “state of

  mind,” and its intent to elicit testimony from employees of the gun store about Mr.

  Hollie’s state of mind on the day of the alleged offenses, the government is now

  opening the door to Mr. Hollie’s mental health. While the defense agrees that a

  “diminished capacity” affirmative defense is not applicable, if the Court allows the

  government to put on this state-of-mind evidence, then Mr. Hollie must be able to

  cross-examine and refute that evidence.

     2. The Habit Testimony of Judge Teresa Pooler

         The government now seeks to introduce the testimony of Judge Teresa Pooler

  as habit evidence under Federal Rule of Evidence 406. The government should not be



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  permitted to use habit evidence to prove an essential element of the crimes charged.

  Further, the defense would only be able to refute the evidence of Judge Pooler’s habit

  by showing why Mr. Hollie’s change of plea may have been outside of her normal

  routine or habit—namely, because of Mr. Hollie’s mental illness and mental health

  history. At the government’s urging, the Court has already precluded this evidence.

  In other words, the defense’s hands would be tied by the Court’s prior ruling. Thus,

  the Court should not permit Judge Pooler to testify pursuant to Fed. R. Evid. 406. If

  the Court does allow this habit testimony, then, at a minimum, it must also allow the

  defense to contest the testimony with questions and evidence of Mr. Hollie’s mental

  health. The government cannot have it both ways.

        The caselaw cited by the government does not support their own position. The

  two criminal cases cited by the government are in entirely different postures than the

  current case. In both United States v. Elmore, 2017 WL 9473400, at *1 (M.D. Ala.

  Nov. 2, 2017), and United States v. Cashwell, 950 F.2d 699, 704 (11th Cir. 1992), the

  issue was whether a court could rely on habit evidence to reconstruct a transcript of

  its own plea colloquy. Neither of these cases considered whether the government

  could use habit evidence to prove an essential element of a crime. Here, the

  government seeks to introduce Judge Pooler’s habit to prove the mens rea element of

  the charged offenses. The Eleventh Circuit has never affirmatively approved of this

  use of habit evidence. In fact, the Eleventh Circuit has cautioned that habit “is never

  to be lightly established, and evidence of example, for purpose of establishing such

  habit, is to be carefully scrutinized before admission.” United States v. Copeland, 662




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  F. App’x 750 (11th Cir. 2016) (citing Loughan v. Firestone Tire & Rubber Co., 749

  F.2d 1519, 1524 (11th Cir. 1985)). Mr. Hollie’s actual knowledge on the day he took

  his plea is relevant; Judge Pooler’s habits on any other day are not.

        Additionally, as noted above, the Court has already precluded the introduction

  of evidence or testimony about Mr. Hollie’s mental health history, tying the hands of

  the defense. At a status conference, this Court already indicated that mental health

  evidence would not be admissible. Now the government seeks to introduce evidence

  that can only be rebutted with the use of mental health evidence. The government

  seeks to elicit testimony to establish of Judge Pooler’s habits during a plea colloquy.

  To rebut this testimony, Mr. Hollie would need to show why this plea colloquy might

  be different than her habitualized plea colloquies. This plea colloquy was different

  because of Mr. Hollie’s mental health: he had been incompetent for nearly four years;

  he was committed to a mental health facility at the time of the plea; the court later

  found Mr. Hollie incompetent to proceed again. All of these factors counter the habit

  testimony. Because the Court has already excluded Mr. Hollie’s mental health

  history, the Court should not allow the habit testimony of Judge Pooler.

        Should the Court allow the habit testimony of Judge Pooler, then the Court

  must also allow the defense to cross-examine Judge Pooler and enter evidence that

  tends to show why Mr. Hollie’s change of plea could have fallen outside the scope of

  Judge Pooler’s habits.

     3. The Letter from Mr. Hollie

        Despite the Court’s previous ruling, the government seeks to admit a letter




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  written by Mr. Hollie to the “county of clerks” while he was confined at the South

  Florida Evaluation and Treatment Center and still in the custody of the Department

  of Children and Families. The Court should affirm its previous ruling that the letter

  is inadmissible because Mr. Hollie was still considered incompetent by the Court at

  the time the letter was written; and again, because the admission of the letter opens

  the door to the circumstances under which the letter was written, including Mr.

  Hollie’s mental health status.

        The letter written by Mr. Hollie is postmarked on December 12, 2017, while

  Mr. Hollie was committed to the Department of Children and Families and in a

  residential mental health facility due to his incompetence. There is no evidence of

  when the letter was actually written. Although the government argues that Mr.

  Hollie was evaluated on December 6, 2017, he was not found competent to proceed

  under December 22, 2017. Additionally, even after the order of competence, the court

  entered an order continuing Mr. Hollie’s commitment pursuant to Brantly v. Rubio,

  870 So.2d 849 (3d DCA 2003), pending the resolution of his case, because his

  competence was so unstable.

        The government cites United States v. Meagher, 531 F.2d 752, 754 (5th Cir.

  1976), abrogated on other grounds by Jaffee v. Remond, 116 U.S. 1923 (1996).

  However, in Meagher, letters from the defendant were used to disprove an insanity

  defense. Not only is there no insanity defense, but the Court has also precluded

  mental health evidence, rendering Meagher completely inapplicable here.

        The letter from Mr. Hollie should be excluded. However, if the Court is inclined




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  to allow the letter, Mr. Hollie must be allowed to respond by introducing the

  circumstances of the letter. The letter makes relevant Mr. Hollie’s mental health at

  the time it was written, his restoration classes, his ongoing battle with competency,

  and his commitment. If the Court allows the letter to be introduced, the government

  will open the door to the entirety of Mr. Hollie’s mental health and the defense will

  seek to admit all of the evidence provided to the government.

     4. Testimony by the Store Employees

        The government seeks to exclude Mr. Hollie from eliciting testimony from store

  employees that Mr. Hollie was mumbling to himself or that he stayed inside one of

  the stores after he was not approved. This evidence would only be elicited to rebut

  the testimony from store employees about Mr. Hollie’s state of mind on the dates of

  the offenses. For example, the defense anticipates that the government will ask the

  store employees whether Mr. Hollie filled out the ATF forms without assistance. This

  evidence is only relevant to show Mr. Hollie’s state of mind on the dates of the

  offenses. As a result, other observed behaviors are also relevant. The employees are

  not testifying as experts or offering any opinion regarding mental health. If the

  government elicits testimony about their observations of Mr. Hollie’s behaviors, the

  defense must be allowed to do the same.

        In conclusion, the government cannot have it both ways: it cannot exclude all

  evidence of Mr. Hollie’s mental health; and then seek to admit testimony and evidence

  about Mr. Hollie’s “state of mind” that can only be rebutted with mental health

  evidence. This Court should affirm its previous ruling, prohibiting both the




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  government and the defense from discussing Mr. Hollie’s mental health. In doing so,

  the Court must also exclude the testimony of Judge Pooler and the letter written by

  Mr. Hollie.

                                        Respectfully submitted,

                                        MICHAEL CARUSO
                                        FEDERAL PUBLIC DEFENDER

                                 By:    /s/ Lauren Field Krasnoff
                                        Lauren Field Krasnoff
                                        Assistant Federal Public Defender
                                        Florida Bar No.: 86951
                                        150 W. Flagler Street, Suite 1700
                                        Miami, Florida 33130-1556
                                        Tel: (305) 533-4255
                                        Fax: (305) 536-4559
                                        E-mail: lauren_krasnoff@fd.org




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                             CERTIFICATE OF SERVICE

        I HEREBY certify that on February 21, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record or pro se parties identified

  in the manner specified, either via transmission of Notices of Electronic Filing

  generated by CM/ECF or in some other authorized manner for those counsel or

  parties who are not authorized to receive electronically Notices of Electronic Filing.

                                          /s/ Lauren Field Krasnoff____________




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